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    16
                              UNITED STATES DISTRICT COURT
    17                       CENTRAL DISTRICT OF CALIFORNIA
    18
         MOOG INC.,
    19                                              CASE NO. 2:22-cv-09094-GW-
                     Plaintiff,                     MAR
    20                   v
    21                                              JOINT STIPULATION
         SKYRYSE, INC., ROBERT ALIN                 REGARDING BRIEFING
    22   PILKINGTON, MISOOK KIM, and                SCHEDULES
         DOES NOS. 1-50,
    23                                              Complaint filed: March 7, 2022
                     Defendants.
    24                                              Counterclaims filed: January 30,
         SKYRYSE, INC.,                             2023
    25               Counterclaimant,
    26                   v
    27   MOOG INC.,
    28               Counterdefendant.
                                                                      CASE NO. 2:22-cv-09094-GW-MAR
                                                1                    JOINT STIPULATION REGARDING
                                                                               BRIEFING SCHEDULES
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     1
               IT    IS   HEREBY       STIPULATED         by   and    between      Plaintiff     and
     2
         Counterdefendant Moog Inc. (“Moog”) and Defendant and Counterclaimant
     3
         Skyryse, Inc. (“Skyryse”) (Moog and Skyryse are collectively referred to as the
     4
         “Parties”) through their respective attorneys of record, as follows:
     5
               WHEREAS, on June 14, 2023, Magistrate Judge Rocconi ordered Moog to
     6
         amend its trade secret identification within 30 days, and ordered that Skyryse would
     7
         have 21 days from the date Moog filed its amended trade secret identification
     8
         (“Amended TSID”) to file any motion challenging the adequacy of the Amended
     9
         TSID, or alternatively to file a motion to lift the discovery stay (Dkt. 534) (the “TSID
    10
         Order”);
    11
               WHEREAS, on June 28, 2023, Skyryse filed objections to and a motion for
    12
         review of Magistrate Judge Rocconi’s TSID, with a hearing noticed for August 24,
    13
         2023 (Dkt. 555) (the “Objections”);
    14
               WHEREAS, on July 12, 2023, the Court granted a joint stipulation by the
    15
         Parties agreeing to continue Moog’s deadline to file its Amended TSID, such that if
    16
         Judge Wu denied Skyryse’s Objections, Moog’s deadline to file its Amended TSID
    17
         would be 7 days after Judge Wu ruled on Skyryse’s Objections, and upon the filing
    18
         of Moog’s Amended TSID, the other procedures and deadlines in the TSID Order
    19
         would remain in effect (Dkt. 576);
    20
               WHEREAS, on August 24, 2023, the Court denied Skyryse’s Objections
    21
         (Dkt. 610), making Moog’s Amended TSID due on August 31, 2023;
    22
               WHEREAS, on August 31, 2023, Moog filed its Amended TSID, making
    23
         Skyryse’s motion challenging the adequacy of the Amended TSID due on September
    24
         21, 2023;
    25
               WHEREAS, on July 21, 2023, Moog filed an Amended Complaint (Dkt. 579);
    26
               WHEREAS, on August 14, 2023, the Court granted a joint stipulation by the
    27
         Parties agreeing that Skyryse’s Amended Counterclaims would be due on August
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                                                                            CASE NO. 2:22-cv-09094-GW-MAR
                                                     2                     JOINT STIPULATION REGARDING
                                                                                     BRIEFING SCHEDULES
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     1
         25, 2023, and that Moog’s deadline to file any responsive pleading to Skyryse’s
     2
         Amended Counterclaims (including any Motion to Dismiss) would be September
     3
         21, 2023 (Dkt. 605);
     4
               WHEREAS counsel for Moog and Skyryse have conferred and agreed that, in
     5
         order to accommodate the parties’ and counsel’s schedules and negotiations, a one-
     6
         week extension of these deadlines is appropriate and will not prejudice any party;
     7
               NOW THEREFORE, subject to the Court’s approval, the Parties stipulate and
     8
         agree as follows:
     9
                  1. Skyryse’s deadline to file a motion challenging the adequacy of Moog’s
    10
                     Amended TSID or a motion to lift the discovery stay will be extended
    11
                     by one week, from September 21, 2023 to September 28, 2023. Upon
    12
                     the filing of Skyryse’s motion, the other procedures and deadlines in
    13
                     the TSID Order shall remain in effect.
    14
                  2. Moog’s deadline to file a responsive pleading to Skyryse’s
    15
                     Counterclaims (including any Motion to Dismiss) will be extended by
    16
                     one week, from September 21, 2023 to September 28, 2023.
    17
         IT IS SO STIPULATED.
    18
    19                                                 SHEPPARD, MULLIN,
          Dated: September 19, 2023
    20                                                 RICHTER & HAMPTON LLP

    21                                                 By: /s/ Kazim A. Naqvi
    22                                                 Kazim A. Naqvi
                                                       Counsel for Plaintiff and Counter-
    23                                                 Defendant Moog Inc.
    24                                                 LATHAM & WATKINS LLP

    25                                                 By: /s/ Gabriel S. Gross
    26                                                 Gabriel S. Gross
                                                       Counsel for Defendant and
    27                                                 Counterclaimant Skyryse, Inc.
    28
                                                                           CASE NO. 2:22-cv-09094-GW-MAR
                                                   3                      JOINT STIPULATION REGARDING
                                                                                    BRIEFING SCHEDULES
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     1
                                          ATTESTATION
     2
               Pursuant to Civil Local Rule 5-4.3.4(a)(2)(i), I, Gabriel S. Gross, attest that
     3
         concurrence in the filing of this document has been obtained by all signatories.
     4
         Dated: September 19, 2023                                 /s/ Gabriel S. Gross
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                                                                          CASE NO. 2:22-cv-09094-GW-MAR
                                                   4                     JOINT STIPULATION REGARDING
                                                                                   BRIEFING SCHEDULES
